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Randy Yavitz

Te|ephone: (602) 275-7733
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Direct E-maii: stacey@hhy|aw.com

October 16, 2009
V|A OVERN|GHT MA|L

Miche||e J. Dickinson, Esq.
D|_A Piper i_|_P

6225 Smith Avenue
Ba|timore, MD. 21209~3600

Re: NE| - Loomis
Dear ivis. Dickenson:
Enc|osed are the following DVDs:

1_ 3 DVDs marked "DLA #1 of 3", "DLA #2 of 3" and "DLA #3 of 3“ containing .tif Hles as
required by the discovery order. These documents are numbered JLOOOOOi-JL0350621.

2. 1 DVD marked “DLA #1 Native Fi|es", containing files required by the discovery order to be
provided in naiive format.

3. 2 DVDs marked "Loomis Home Computer Fi|es 12117/08", and 2 DVDs marked "i_oomis
Home Computer Fiies 612009", which are the backup disks discussed in our previous
correspondence

Sincerely,

HUNTER, HUMPHREY & YAV[TZ, PLC

Stacey osbrucker
Para|e

cc: Joe Loomis, wfo enc.

